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18                                 UNITED STATES DISTRICT COURT

19                                     DISTRICT OF NEVADA

20
      Cung Le, Nathan Quarry, Jon Fitch, Brandon      Case No.: 2:15-cv-01045-RFB-(BNW)
21    Vera, Luis Javier Vazquez, and Kyle
22    Kingsbury on behalf of themselves and all       ZUFFA, LLC’S RESPONSE TO
      others similarly situated,                      PLAINTIFFS’ SUPPLEMENTAL
23                                                    NOTICE REGARDING
                     Plaintiffs,                      DISCLOSURE OF CASE
24           v.                                       MATERIALS IN CONNECTION
                                                      WITH CLASS CERTIFICATION
25
      Zuffa, LLC, d/b/a Ultimate Fighting             OPINION AND ORDER (ECF NO.
26    Championship and UFC,                           791)

27                   Defendant.

28


                         ZUFFA RESP. TO PL.’S SUPP. NOTICE (ECF NO. 791)
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 1          On January 6, 2021, the Court indicated its “intent to unseal and make public all the

 2   documents in this case with the publication of the Court’s Certification Order” and gave the

 3   parties and interested third parties an opportunity to indicate their position on the “disclosure of

 4   all the material.” ECF No. 782. In response to the Court’s Order, on January 7, Plaintiffs filed a

 5   Notice stating that they did not object to the unsealing of all materials. ECF No. 783. 1 Both

 6   Zuffa and non-party Bellator Sport Worldwide LLC objected to the unsealing of certain

 7   documents. ECF Nos. 785 (Bellator objection), 786, and 787 (Zuffa objection and supplement).

 8   Despite the fact that the parties and non-parties have submitted their positions and the

 9   confidentiality issues have been briefed fully, Plaintiffs now propose creating a two-track process

10   where the Court issues its Class Certification Order while “withholding a ruling on any further

11   unsealing of record evidence” to provide the parties an opportunity “to address which record

12   documents, if any, should remain sealed or partially redacted.” ECF No. 791. Such a process is

13   not necessary, and Plaintiffs have not provided a reason to delay resolving the confidentiality

14   issues associated with the forthcoming Class Certification Order.

15          Plaintiffs’ proposal contemplates that the parties need additional time “to address which

16   record documents, if any, should remain sealed or partially redacted,” ECF No. 791,

17   notwithstanding that the parties have briefed these issues fully. Zuffa has identified three

18   categories of documents that should remain sealed or redacted. The first category consists of

19   three exhibits admitted at the 2019 Evidentiary Hearing. Zuffa Objections, ECF No. 786 at 3–6

20   (The Posting Memo (PCCX41); The UFC Overview (PCCX344); and the Dana White Text

21   Messages (PCCX414)). The second category of documents are expert reports, which contain

22   sensitive financial information. (E.g., Guy Davis Rebuttal Expert Rep., ECF No. 518-9;

23   Elizabeth Davis Expert Rep., ECF 540-65; Singer Expert Rep., ECF No. 727-1; Zimbalist Rep.

24   ECF No. 518-5). The final category are those documents that are not relevant to the Court’s

25   Certification Order, but which nonetheless contain highly sensitive confidential information. In

26   its January 11 Objection, Zuffa sets forth the compelling reasons to seal this material, and, for

27
     1Several third parties also filed letters in support of unsealing the documents in the case. ECF
28   No. 784.

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 1   each category, Zuffa previously has filed motions to seal and redact the documents that lay out

 2   why the documents warrant protections against broad disclosure. See, e.g., Zuffa’s Mot. to Seal

 3   Pl.’s Mot. to Certify Class, ECF No. 527 (requesting to seal various exhibits to Plaintiffs’ class

 4   certification motion, including Dana White’s Text Messages (Ex. 43), Guy Davis’s Rebuttal

 5   Expert Report (Ex. 7), Zimbalist and Singer Expert Reports (Exs. 1–4)); Sep. 23, 2019 Hr’g Tr.,

 6   ECF 786-1, at 132:11–134:4 (Court discussing redactions to The Posting Memo); Zuffa’s Mot. to

 7   Seal Pls.’ Ex. 17, ECF No. 754 at 2 (demonstrating that The UFC Overview contains highly

 8   sensitive financial information); Notice of Sealing Requested in Aug. 26, 2019 Hearing, ECF No.

 9   727 (requesting redactions of Singer and Zimbalist reports). Because the issues here have been

10   briefed, determining the confidentiality of those documents prior to issuing the Class Certification

11   Order should not substantially delay this case. A separate process for briefing confidentiality is

12   therefore unnecessary. 2

13          Accordingly, Zuffa respectfully requests that the Court resolve the confidentiality issues

14   prior to issuing the Class Certification Order.

15   Dated: January 27, 2021               COVINGTON & BURLING LLP
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     2Releasing the Court’s  Class Certification Order before resolving the confidentiality issues also
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     would unduly prejudice Zuffa’s ability to seek review of the Class Certification Order. Zuffa
23   would need to brief confidentiality while simultaneously preparing a petition for review within
     the 14-day period allowed by Rule 23(f). In addition, because Zuffa would not know which parts
24   of the Court’s order and the record could be cited publicly, Zuffa may have to request that the
     Court decide whether individual documents should remain sealed or redacted during that short
25   period of time. To the extent that there are outstanding confidentiality issues before this Court
26   while the petition is pending, it also could unduly complicate the Ninth Circuit’s consideration of
     the petition. Ruling on the confidentiality issues before releasing the Class Certification would
27   avoid these complications. Although Plaintiffs’ proposal would prejudice Zuffa, Plaintiffs have
     not identified any prejudice that would result from the Court ruling on confidentiality first, nor
28   have they articulated any reason to take the issues out of order.

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 1                                    CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that the foregoing Response to Plaintiffs’

 3   Supplemental Notice Regarding Disclosure of Case Materials was served on January 27, 2021

 4   via the Court’s CM/ECF electronic filing system addressed to all parties on the e-service list.

 5                                                                       By: /s/ Stacey K. Grigsby

 6                                                                       Stacey K. Grigsby

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